AO l 99A (Rev. 11108) Order,Setting ConditigRelease
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                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                      Eastern District of North Carolina       FILED IN OPEN cou~l­
                                                                                               ON    J5.       7
                                                                                                        (,f /Aft/i
                                                                                                   Peter A. Moore, Jr., Clerk
                United States of America                            )                              US District Court
                                                                    )                              Eastern District of NC
                                 v.
                                                                    )       Case No. 5:17-CR-91-1-BR
                 Kenneth Preston Blevins                            )
                          Defendant                                 )

                                      ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

         (1) The defendant must not violate any federal, state or local law while on release.

         (2) The defendant must cooperate in the collection of a DNA sample if the collection is authorized by
             42 U.S.C. § 14135a.

         (3) The defendant must immediately advise the court, defense counsel, and the U.S. attorney in writing before any
             change in 'address or telephone number.

         (4) The defendant must appear in court as required and must surrender to serve any sentence imposed

               The defendant must appear at (if blank, to be notified)
                                                                                                     Place


                                                                                           Date and Time




                                       Release on Personal Recognizance or Unsecured Bond

IT IS FURTHER ORDERED that the defendant be released on condition that:

( . V' ) (5) The defendant pr mises to appear in court as required and surrender to serve any sentence imposed.
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                                  ecutes an unsecured bond binding the defendant to pay to the United States the sum of
              __.__,,<--_.__,,_,_.,_,__~~~~~~~~~~~~~~~~~~~~-
                                                                                             dollars($                  )
               in the event of a failure to appear as required or surrender to serve any sentence imposed.




                 DISTRIBUTION:        COURT   DEFENDANT        PRETRIAL      SERVICES   U.S. ATTORNEY      U.S. MARSHAL
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    ~AO       199B      (Rev. 5/99) Additional Co             of Release                                                                   Page        2       of      3

                                                                       Additional Conditions of Release
          Upon ~::~g that release, by one of the above methods will not by itself reasonably assure the appearance of the defendant and the safety of other persons and the

IT IS          ER ORDERED that the release of the defendant is subject to the o ditio s marked below:
(               The defendant is placed in the custod~f:
                (Nameofpersono~o       a    "zat~)~_ l~~~"::-,)~Y-:/~~f--~~"d'-7J!>'---7r----------------------------~
                                                  ......
              (Address) --l"--/d::::!=---J.-4-rl/.~H..,.'fl'fl.:i,.,,,...ft'f~H~~C-~-;Hf.T-;r------------------------
              (City and state)                                                                               (Tel. No.) - - - - - - - - - - - - - - - - - -
who agrees (a) to supervise the defen nt in accordance with all the conditions ofrelease, (b) to use every effort to assure the appearance of the defendant at all scheduled court
proceedings, and (c) to notify the court immediately in the event the defendant violates any conditions of release or disappears.

                                                                                     Signed:~~
                                                                                                            '. Custodian or Proxy                                          Date

        ) (7) The defendant shall:
          ( ) (a) report to the
                       telephone number                             , not later than - - - - - - - - - - - - - -
               ) (b)   execute a bond or an agreement to forfeit upon failing to appear as required the following sum of money or designated property:

               ) (c)   post with the court the following indicia of ownership of the above-described property, or the following amount or percentage of the above-described

               ) (d)
          (    ) (e)

          (~
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          ( 1-)\i)

               ) (j)   avoid all contact, directly or indirectly, with any persons who are or who may become a victim or potential witness in the subject investigation or
                       prosecution, including but not limited to:

               ) (k)   undergo medical or psychiatric treatment and/or remain in an institution as follows:

               ) (I)   return to custody each (week) day as of ------o'clock after being released each (week) day as of ------o'clock for employment,
                       schooling, or the following limited purpose(s):

          (    )~)     maintain residence at a halfway house or community corrections center, as deemed necessary by the pretrial services office or supervising officer.
          (.Vf(n)      refrain from poskessing a fireann, destructive device, or other dangerous weapons.
          (    ) (o)   refrain from ( ! ) any ( ) excessive use of alcohol.
          (    )(p)    refrain from use or unlawful possession of a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed medical
                       practitioner.
               ) (q)   submit to any method of testing required by the pretrial services office or the supervising officer for detennining whether the defendant is using a prohibited
                       substance. Such methods may be used with random frequency and include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or
                       any form of prohibited substance screening or testing.
               ) (r)   participate in a program of inpatient or outpatient substance abuse therapy and counseling if deemed advisable by the pretrial services office or supervising
                       officer.
               ) (s)   refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy of any prohibited substance testing or electronic
                       monitoring which is (are) required as a condition(s) ofrelease.
               ) (t)   participate in one of the following home confinement program components and abide by all the requirements of the program which ( ) will or
                       ( ) will not in~lude electronic monitoring or other location verification system. You shall pay all or part of the cost of the program based upon your ability
                       to pay as determined by the pretrial services office or supervising officer.
                       ( ) (i) Curfew. You are restricted to your residence every day ( ) from                                 to                 , or ( ) as directed by the pretrial
                                     services office or supervising officer; or
                                (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services; medical, substance abuse,
                                     or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other activities as pre-approved by the pretrial services
                                     office or supervising officer; or
                            ) (iii) Honie Incarceration. You are restricted to your residence at all times except for medical needs or treatment, religious services, and court
                                     appearances pre-approved by the pretrial services office or supervising officer.
          (    ) (u)   report as soon as po.ssi?Ie, to th pretrial services office or supertsing officer any contact with any law enfo ement personnel, includingf,ut ?o
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~AO   199C   (Rev.12/03) Advice of Penalto.                                                 0              Page      3    of     3       Pages

                                                  Advice of Penalties and Sanctions

TO THE DEFENDANT:

YOU ARE ADVISED dF THE FOLLOWING PENALTIES AND SANCTIONS:

       A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
revocation of release, an order of detention, and a prosecution for contempt of court and could result in a term of imprisonment, a fine,
or both.
       The commission of a Federal offense while on pretrial release will result in an additional sentence of a term of imprisonment of
of not more than ten years, ifthe offense is a felony; or a term ofimprisonmentofnotmore than one year, ifthe offense is a misdemeanor.
This sentence shall be in addition to any other sentence.
       Federal law makes it a crime punishable by up to 10 years of imprisonment, and a $250,000 fine or both to obstruct a criminal
investigation. It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to tamper with a witness, victim
or informant; to retaliate or attempt to retaliate against a witness, victim or informant; or to intimidate or attempt to intimidate a witness,
victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation are significantly more serious if
they involve a killing or attempted killing.
       If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the service of sentence,
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
       (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you shall be fined
            not more than $250,000 or imprisoned for not more than 10 years, or both;
       (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall be fined not
            more than $250,000 or imprisoned for not more than five years, or both;                                       .
       (3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
       (4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.
       A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any other offense. In
addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                    Acknowledgment of Defendant

       I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all conditions
of release, to appear as directed, and to surrender for service of any sentence imposed. I am aware of the penalties and sanctions set forth
above.

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                                                                                   City and State                          Telephone


                                                Directions to United States Marshal

(   ~ defendant is ORDERED released after processing.
(     ) The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the defendant


Date judge a t t    i. i ~aoe
        has posted bond anaYor complied with all other conditions for release. The defendant shall be produced before the appropriate
                                    "Pf£illed, ;£,till   mcusto-Oy_                        ~av{7~
                                                                                               Signature of Judicial Officer

                                                                               W. Earl Britt, Senior U.S. District Judge
                                                                                          Name and Title of Judicial Officer
                             '
                    DISTRIBlfON:     COURT       DEFENDANT        PRETRIAL SERVICE      U.S. ATTORNEY       U.S. MARSHAL

                             II


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